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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0317V
                                      Filed: May 30, 2019
                                        UNPUBLISHED


    DOUGLAS T. LESTER,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Nancy Routh. Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Glenn Alexander MacLeod, U.S. Department of Justice, Washington, DC, for
respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On March 8, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as a result of
his October 7, 2015 influenza (“flu”) vaccination. Petition at 1. On February 13, 2019,
the undersigned issued a decision awarding compensation to petitioner based on the
parties’ stipulation. ECF No. 62.



1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On May 8, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF No.
67. Petitioner requests attorneys’ fees in the amount of $21,060.30 and attorneys’ costs
in the amount of $1,096.46. Id. at 1. In compliance with General Order #9, petitioner
filed a signed statement indicating that petitioner incurred no out-of-pocket expenses.
ECF No. 67-1. Thus, the total amount requested is $22,156.76.

        On May 22, 2019, respondent filed a response to petitioner’s motion. ECF No.
68. Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” Id. at 3.

      On May 28, 2019, petitioner filed a reply. ECF No. 69. “Petitioner concurs with
Respondent’s recommendation that Special Master Dorsey exercise her discretion and
determine a reasonable award for attorney’s fees and costs in this case.” Id.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Based on the reasonableness of petitioner’s request, the undersigned GRANTS
petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $22,156.76 3 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Ward Black Law.

        The clerk of the court shall enter judgment in accordance herewith. 4




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      2
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IT IS SO ORDERED.


                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




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